Case 1:22-cr-00525-NRM-CLP Document 4-1 Filed 11/16/22 Page 1 of 1 PageID #: 59
                                                        File Date: November 16, 2022
                                                        Case Number: 22-cr-525
                                                        Judge Nina Morrison
                                      INFORMATION SHEET
                                                        Magistrate Judge Cheryl L. Pollak
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK


 1.      Title of Case: United States v. Anton Napolsky et. al.
2.       Related Magistrate Docket Number(s): 22-MJ-1139
3.       Arrest Date:    11/3/2022

 4.      Nature of offense(s):     IZl Felony
                                   □ Misdemeanor
5.       Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
         Division of Business Rules):____________________

6.       Projected Length of Trial:      Less than 6 weeks
                                         More than 6 weeks       □
7.       County in which crime was allegedly committed: _K_ in....,g...._s......C.......o__u_nty
                                                                                              ___________
         (Pursuant to Rule 50.l(d) of the Local E.D.N.Y. Division of Business Rules)
8.       Was any aspect of the investigation, inquiry and prosecution giving rise to the case
         pending or initiated before March 10, 2012.         □ Yes IZI No
9.       Has this indictment/information been ordered sealed?            □ Yes � No
10.      Have arrest warrants been ordered?                              � Yes    □ No
11.      Is there a capital count included in the indictment?    □ Yes IZI No
                                                        BREON PEACE


                                                By:
                                                                  . Edwards-Bal our
                                                        Assistant U.S. Attorney
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